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 Fill in this information to identify the case:

 Debtor name         Sklarco, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                              $1,909,873.37
       From 1/01/2020 to Filing Date                                                                        Revenue from
                                                                                                Other      Interests


       For prior year:                                                                          Operating a business                            $15,780,254.00
       From 1/01/2019 to 12/31/2019                                                                         Revenue from
                                                                                                Other      Interests


       For year before that:                                                                    Operating a business                            $19,022,035.00
       From 1/01/2018 to 12/31/2018                                                                         Revenue from
                                                                                                Other      Interests

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Bruce Howard                                                01/22/2020                       $11,725.00          Secured debt
                                                                           1,225.00                                             Unsecured loan repayments
                                                                           02/27/2020                                           Suppliers or vendors
                                                                           8,900.00                                             Services
                                                                           03/25/2020
                                                                                                                                Other
                                                                           1,600.00

       3.2.
               Cecil Earl Moran as Trustee of GST                          1/10/20                          $22,700.00          Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               Maevlo Production LP                                        1/2/20 -                        $125,000.00          Secured debt
                                                                           $65,000                                              Unsecured loan repayments
                                                                           1/30/20 -                                            Suppliers or vendors
                                                                           $60,000                                              Services
                                                                                                                                Other

       3.4.
               Par Minerals Corporation                                    01/22/2020                       $47,993.30          Secured debt
               701 Texas Street                                            15,518.54                                            Unsecured loan repayments
               Shreveport, LA 71101                                        02/07/2020                                           Suppliers or vendors
                                                                           12,525.00                                            Services
                                                                           02/20/2020
                                                                                                                                Other
                                                                           22,949.76

       3.5.
               Pruet Production Co                                         01/22/2020                       $43,738.26          Secured debt
               PO Box 11407                                                1,219.02                                             Unsecured loan repayments
               Birmingham, AL 35246-1129                                   01/30/2020                                           Suppliers or vendors
                                                                           42,519.24                                            Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor




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       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Sklar Exploration, LLC                                      06/27/2019                      $810,000.00           Transfer of Funds to Operating
               5395 Pearl Parkway                                          320,000.00                                            Entity to be Used in Ongoing
               Suite 200                                                   Sklar                                                 Operations
               Boulder, CO 80301                                           Exploration
               Related Entity/Operating Entity                             Co., L.L.C.
                                                                           09/24/2019
                                                                           300,000.00
                                                                           Sklar
                                                                           Exploration
                                                                           Co., L.L.C.
                                                                           09/25/2019
                                                                           10,000.00
                                                                           Sklar
                                                                           Exploration
                                                                           Co., L.L.C.
                                                                           11/05/2019
                                                                           20,000.00
                                                                           Sklar
                                                                           Exploration
                                                                           Co., L.L.C.
                                                                           01/16/2020
                                                                           160,000.00
                                                                           Sklar
                                                                           Exploration
                                                                           Co., L.L.C.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address




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               Case title                                       Nature of case             Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    NOTICE OF VIOLATION                              Alleged violation          Alabama Department of                  Pending
               CONCERNING                                       of air permits             Environmental Management               On appeal
               CASTLEBERRY FIELD AREA                           issued by the              1400 Coliseum Blvd.                      Concluded
               1, FACILTIY NO. 103-0021                         Alabama Dept. of           Montgomery, AL 36130
               AND CASTLEBERRY FIELD                            Environmental
               AREA 2, FACILITY NO.                             Management due
               103-0026                                         to leaking
                                                                pressure relief
                                                                safety valves on
                                                                well production
                                                                equipment

       7.2.    Petition for Refund of                           Petition by Sklar          Alabama Department of                    Pending
               Severance Taxes                                  Exploration                Revenue                                On appeal
                                                                Company and                Business and License Tax
                                                                                                                                  Concluded
                                                                Sklarco for the            Division
                                                                refund of                  Severance and License
                                                                $493,777.91 in             Section
                                                                excess oil and gas         P.O. Box 327550
                                                                severance taxes            Montgomery, AL 36132
                                                                paid to the
                                                                Alabama
                                                                Department of
                                                                Revenue
                                                                concerning the
                                                                Fishpond Oil Unit
                                                                in Escambia
                                                                County, Alabama.

       7.3.    BHP BILLITON PETROLEUM                           Concursus                  26th Judicial District Court             Pending
               PROPERTIES (N.A.), L.P. ET                       proceeding                 Bossier Parish                         On appeal
               AL. V. EARNEST H. TURNER,                        concerning                 Louisiana
                                                                                                                                  Concluded
               III, ET AL                                       dispute over
               Docket No. 145651                                ownership of
                                                                minerals along the
                                                                Red River,
                                                                Bossier Parish,
                                                                Louisiana.

       7.4.    KHCD PROPERTIES, LLC, ET                         Dispute over               26th Judicial District Court             Pending
               AL., V. BPX PROPERTIES                           mineral                    Bossier Parish                         On appeal
               (N.A.), L.P., ET AL.                             ownership in               Louisiana
                                                                                                                                  Concluded
               Docket No. C-1609212                             tracts along the
                                                                Red River,
                                                                Bossier Parish,
                                                                Louisiana.

       7.5.    SWEPI, LP AND ENCANA OIL                         Dispute over               19th Judicial District Court             Pending
               & GAS (USA) INC. V. M&M                          ownership of               East Baton Rouge Parish                On appeal
               ALMOND, LLC, ET AL                               minerals in                Louisiana
                                                                                                                                  Concluded
               Docket No. 611710                                Coushatta Bayou,
                                                                Red River Parish,
                                                                Louisiana.




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               Case title                                       Nature of case               Court or agency's name and                Status of case
               Case number                                                                   address
       7.6.    LISBON UNITED METHODIST                          Pollution and                2nd Judicial District Court                  Pending
               CHURCH, ET AL., V. KINDER                        contamination                Claiborne Parish                           On appeal
               MORGAN, INC., ET AL.                             suit (legacy                 Louisiana
                                                                                                                                        Concluded
               Docket No. 40301                                 lawsuit)
                                                                concerning
                                                                certain lands
                                                                located in
                                                                Claiborne Parish,
                                                                Louisiana.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                  Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                      lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers                 Total amount or
                                                                                                                        were made                                value


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 Debtor      Sklarco, LLC                                                                               Case number (if known)



13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Social Security Numbers and Tax ID Numbers
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       Howard F. Sklar Trust                                                                              Debtor is holding legal title to        $803,072.00
       5395 Pearl Parkway, Suite 200                                                                      the following business
       Boulder, CO 80301                                                                                  interests:
                                                                                                          Fugasity Co.
                                                                                                          21/16 Commerce Park LP
                                                                                                          Trout Creek Ventures
                                                                                                          LTP Opportunity Fund, LP
                                                                                                          West Arcadia Pipeline
                                                                                                          1908 Brand Bylaws

                                                                                                          Debtor is agent nominee;
                                                                                                          equitable and benefial
                                                                                                          interests are owned
                                                                                                          exclusively by the Howard
                                                                                                          Sklar Trust




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 Debtor      Sklarco, LLC                                                                               Case number (if known)



       Owner's name and address                                      Location of the property             Describe the property                           Value
       Howard F. Sklar Trust                                         Debtor's East West Bank              Debtor is holding                      $233,000.00
       5395 Pearl Parkway                                            Account                              approximately $200,000 as
       Suite 200                                                                                          payment from Trout Creek
       Boulder, CO 80301                                                                                  Ventures; funds are owned
                                                                                                          exclusively by Howard F.
                                                                                                          Sklar Trust

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Jacob Sklar Grantor Trust                                                                          Debtor is holding legal title to       $353,419.00
       5395 Pearl Parkway                                                                                 the following business
       Suite 200                                                                                          interests:
       Boulder, CO 80301                                                                                  Fugasity Co.
                                                                                                          LTP Opportunity Fund, LP
                                                                                                          1908 Brand Bylaws
                                                                                                          Bolders on Fern
                                                                                                          LTP Timberquest Fund, LP

                                                                                                          Debtor is agent nominee;
                                                                                                          equitable and benefial
                                                                                                          interests are owned
                                                                                                          exclusively by the Jacob
                                                                                                          Sklar Grantor Trust

       Owner's name and address                                      Location of the property             Describe the property                           Value
       Alan Sklar Grantor Trust                                                                           Debtor is holding legal title to       $353,419.40
       5395 Pearl Parkway, Suite 200                                                                      the following business
       Boulder, CO 80301                                                                                  interests:
                                                                                                          Fugasity Co.
                                                                                                          LTP Opportunity Fund, LP
                                                                                                          1908 Brand Bylaws
                                                                                                          Bolders on Fern
                                                                                                          LTP Timberquest Fund, LP

                                                                                                          Debtor is agent nominee;
                                                                                                          equitable and benefial
                                                                                                          interests are owned
                                                                                                          exclusively by the Alan Sklar
                                                                                                          Grantor Trust


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       No.
           Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address




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       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address
       Lisbon United Methodist Church, et al.,                       2nd Judicial District                Pollution and contamination                    Pending
       v. Kinder Morgan, Inc., et al.                                Court,                               suit (legacy lawsuit)                          On appeal
       Docket No. 40301                                              Claiborne Parish,                    concerning certain lands
                                                                                                                                                         Concluded
                                                                     Louisiana                            located in Claiborne Parish,
                                                                                                          Louisiana.


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                                                                      EIN:
             Maevlo Production LP                                                                                           XX-XXXXXXX
             7495 S. Gartrell Rd
             Aurora, CO 80016                                                                                  From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Exigent Information Solutions, LLC                                                                                         March 2020-Current
                    8310 South Valley Highway, Suite 300
                    Englewood, CO 80112
       26a.2.       Plant Moran                                                                                                                2018-Current
                    8181 East Tufts Avenue, Suite 600
                    Denver, CO 80237
       26a.3.       EKS&H                                                                                                                      2018
                    8181 East Tufts Avenue, Suite 600
                    Denver, CO 80237

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.



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 Debtor      Sklarco, LLC                                                                               Case number (if known)



           None
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Exigent Information Solutions, LLC
                    8310 South Valley Highway, Suite 300
                    Englewood, CO 80112
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       EKS&H                                                                                                               Acquired by Plant
                    8181 East Tufts Avenue, Suite 600                                                                                   Moran
                    Denver, CO 80237
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.3.       Plant Moran
                    8181 East Tufts Avenue, Suite 600
                    Denver, CO 80237

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Exigent Information Solutions, LLC
                    8310 South Valley Highway, Suite 300
                    Englewood, CO 80112
       26c.2.       EKS&H
                    8181 East Tufts Avenue, Suite 600
                    Denver, CO 80237
       26c.3.       Plant Moran
                    8181 East Tufts Avenue, Suite 600
                    Denver, CO 80237
       26c.4.       Sklarco, LLC
                    5395 Pearl Parkway
                    Suite 200
                    Boulder, CO 80301

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  C&J Energy Services
                    3990 Rogerdale
                    Houston, TX 77042
       26d.2.       East West Bank Treasury Department
                    135 N. Los Robles Ave, Ste 600
                    Pasadena, CA 91101

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.


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 Debtor      Sklarco, LLC                                                                               Case number (if known)



               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Howard F. Sklar Trust                          5395 Pearl Parkway                                  Equity Holder                         100%
                                                      Suite 200
                                                      Boulder, CO 80301
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Howard F. Sklar,                               5395 Pearl Parkway                                  Manager                               0%
       Individually                                   Suite 200
                                                      Boulder, CO 80301


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Howard F. Sklar
       .    5395 Pearl Parkway
               Suite 200
               Boulder, CO 80301                                $357,654.00                                              See Attached       Distributions

               Relationship to debtor
               Manager


       30.2 Howard F. Sklar Trust
       .    5395 Pearl Parkway
               Suite 200
               Boulder, CO 80301                                $1,626,200.00                                            See Attached       Distributions

               Relationship to debtor
               Equity Holder


       30.3 Alan Sklar Grantor Trust
       .    5395 Pearl Parkway, Suite 200
               Boulder, CO 80301                                $339,278.75                                              See Attached

               Relationship to debtor
               Non-Statutory Insider




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 Debtor      Sklarco, LLC                                                                               Case number (if known)



               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.4 Maren Trust
       .                                                        $3,000                                                   July 15, 2019

               Relationship to debtor
               Non-Statutory Insider


       30.5 Miriam Sklar, LLC
       .                                                        $1,502.23                                                2/21/20

               Relationship to debtor
               Statutory Insider


       30.6 Jacob Sklar Grantor Trust
       .    5395 Pearl Parkway
               Suite 200
               Boulder, CO 80301                                $320,312.47                                              See Attached

               Relationship to debtor
               Statutory Insider


       30.7 Succession of Miriam Mandel
       .    Sklar                                               12/12/2019 8,680.00
                                                                01/13/2020 16,000.00

               Relationship to debtor
               Statutory Insider


       30.8 JJS Working Interests, LLC                          09/30/2019 1,791.77
       .                                                        10/31/2019 1,476.06

               Relationship to debtor
               Statutory Insider


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      Sklarco, LLC                                                                               Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 17, 2020

 /s/ Howard Sklar                                                       Howard Sklar
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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Sklarco, LLC
Payments to Insiders in Year Prior to Filing
Date              Amount            Payee          Notest
                                    Alan Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     08/22/2019         24,311.19                  investments
                                    ALAN Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     08/31/2019         15,832.62                  investments
                                    ALAN Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     09/30/2019         11,290.42                  investments
                                    ALAN Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     11/30/2019         13,635.99                  investments
                                    ALAN Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     12/31/2019          8,446.28                  investments
                                    ALAN Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     01/31/2020          5,585.06                  investments
                                    ALAN Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     02/29/2020         17,366.00                  investments
                                    Alan Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     04/25/2019         66,741.97                  investments
                                    Alan Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     05/22/2019         37,546.69                  investments
                                    Alan Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     07/11/2019         38,310.19                  investments
                                    Alan Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     08/20/2019         50,375.09                  investments
                                    Alan Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     10/21/2019          1,620.75                  investments
                                    Alan Trust     Payment of Investment Income;
                                                   Debtor is agent nominee for
     11/13/2019         26,967.00                  investments
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Sklarco, LLC
Payments to Insiders in Year Prior to Filing
Date              Amount            Payee                        Notest
                                    Alan Trust                   Payment of Investment Income;
                                                                 Debtor is agent nominee for
     01/23/2020         21,249.50                                investments

Total                 339,278.75
                                    Howard F. Sklar Personal
     07/24/2019       130,000.00                                 Salary/Distributions
                                    Howard F. Sklar Personal
     07/24/2019         67,654.00                                Salary/Distributions
                                    Howard F. Sklar Personal
     07/05/2019         30,000.00                                Salary/Distributions
                                    Howard Sklar
     06/20/2019       130,000.00                                 Salary/Distributions

Total                 357,654.00
                                    Howard Trust
     04/01/2019       130,000.00                                 Salary/Distributions
                                    Howard Trust
     04/26/2019         40,000.00                                Salary/Distributions
                                    Howard Trust
     05/01/2019       225,000.00                                 Salary/Distributions
                                    Howard Trust
     05/24/2019       130,000.00                                 Salary/Distributions
                                    Howard Trust
     07/09/2019         50,000.00                                Salary/Distributions
                                    Howard Trust
     07/03/2019         30,000.00                                Salary/Distributions
                                    Howard Trust
     08/22/2019       130,000.00                                 Salary/Distributions
                                    Howard Trust
     08/29/2019         10,000.00                                Salary/Distributions
                                    Howard Trust
     09/03/2019       200,000.00                                 Salary/Distributions
                                    Howard Trust
     09/10/2019         30,000.00                                Salary/Distributions
                                    Howard Trust
     10/02/2019       190,000.00                                 Salary/Distributions
                                    Howard Trust
     10/29/2019         11,200.00                                Salary/Distributions
                                    Howard Trust
     11/01/2019       100,000.00                                 Salary/Distributions
                                    Howard Trust
     11/27/2019         20,000.00                                Salary/Distributions
                                    Howard Trust
     12/04/2019       180,000.00                                 Salary/Distributions
                                    Howard Trust
     12/31/2019         25,000.00                                Salary/Distributions
                                    Howard Trust
     01/03/2020       125,000.00                                 Salary/Distributions

Total               1,626,200.00
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Sklarco, LLC
Payments to Insiders in Year Prior to Filing
Date              Amount            Payee                   Notest
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     08/31/2019         13,727.97                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     09/30/2019         11,943.48                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     11/30/2019         10,091.25                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     12/31/2019          6,078.50                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     01/31/2020          3,393.38                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     02/29/2020         14,089.60                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     04/25/2019         48,585.14                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     05/22/2019         32,966.51                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     07/11/2019         28,466.38                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     08/20/2019         46,181.84                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     08/22/2019         24,311.18                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     10/21/2019          1,620.74                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     11/13/2019         26,967.00                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     11/27/2019          8,240.00                           investments
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Sklarco, LLC
Payments to Insiders in Year Prior to Filing
Date              Amount            Payee                   Notest
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     12/30/2019          4,400.00                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     01/23/2020         21,249.50                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
     02/27/2020         10,000.00                           investments
                                    Jacob Grantor Trust     Payment of Investment Income;
                                                            Debtor is agent nominee for
    03/05/2020          8,000.00                            investments
Total                 320,312.47
